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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                        Case No.: 4:23-cv-4155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of        APPLICATION TO PROCEED
   themselves and all others similarly situated,         ANONYMOUSLY
17               Plaintiffs,                             Filed Concurrently with Complaint;
18        v.                                             Motion for Preliminary Injunction;
                                                         and Motion for Provisional Class
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;             Certification
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN          Trial Date:         None Set
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.

     [4337041.2]                                                             Case No. 4:23-cv-4155
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 1                                             INTRODUCTION
 2                 Plaintiffs—a group of incarcerated individuals who have experienced and witnessed
 3 horrific sexual abuse and harassment at the hands of prison facility staff—seek to proceed
 4 anonymously, using their initials rather than their full names. As explained below, the
 5 significant risk of retaliatory harm to these plaintiffs and the highly sensitive and personal
 6 nature of the allegations at issue warrant proceeding anonymously.
 7                 Any potential prejudice to Defendants is undoubtedly outweighed by Plaintiffs’
 8 need to maintain their own physical and emotional safety and by the importance of
 9 protecting the sensitive and personal information that will be disclosed during this
10 litigation. For these reasons and as discussed below, the Court should approve Plaintiffs’
11 application to proceed anonymously.
12 I.              BACKGROUND
13                 As outlined in detail in the Complaint, individuals incarcerated at FCI Dublin have
14 been subjected to rampant ongoing sexual abuse for years. Plaintiffs and the putative class
15 members they represent have endured horrific abuse and exploitation at the hands of
16 facility staff, including but not limited to: rape and sexual assault; manipulation and sexual
17 coercion, degrading sexual comments on an everyday basis; voyeurism and taking explicit
18 photos; drugging, groping, and other forms of abuse during medical exams; and targeted
19 abuse towards immigrants under threat of deportation. Declaration of Ginger Jackson-
20 Gleich in Support of Application to Proceed Anonymously (Jackson-Gleich Decl.) ¶ 3;
21 citing Complaint, Dkt. 1.
22                 Moreover, officers, supervisors, and leadership throughout FCI Dublin protect their
23 abusive colleagues by failing to investigate claims of sexual abuse and harassment, and by
24 affirmatively retaliating against those who report it. As a result, survivors frequently face
25 egregious forms of retaliation, including placement in solitary confinement, repeated and
26 unjustified strip and cell searches, and transfer to other facilities away from their families
27 and support systems. Jackson-Gleich Decl. ¶ 6. This pervasive retaliation deters many
28 survivors from reporting their abuse. The Plaintiffs who have stepped forward to pursue

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 1 this lawsuit are acutely aware of these dangers and respectfully request that the Court grant
 2 their application to proceed anonymously.
 3 II.             ARGUMENT
 4                 Within the Ninth Circuit, “a party may preserve his or her anonymity in judicial
 5 proceedings in special circumstances when the party’s need for anonymity outweighs
 6 prejudice to the opposing party and the public’s interest in knowing the party’s identity.”
 7 Does I thru XXIII v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). In
 8 general, courts in this circuit “allow parties to use pseudonyms in the ‘unusual case’ when
 9 nondisclosure of the party’s identity ‘is necessary . . . to protect a person from harassment,
10 injury, ridicule or personal embarrassment.’” Id. at 1067–68 (quoting United States v.
11 Doe, 655 F.2d 920, 922 n.1 (9th Cir.1981)).
12                 “To determine whether to allow a party to proceed anonymously when the opposing
13 party has objected, a district court must balance five factors: ‘(1) the severity of the
14 threatened harm, (2) the reasonableness of the anonymous party’s fears, (3) the anonymous
15 party’s vulnerability to such retaliation,’ (4) the prejudice to the opposing party, and (5) the
16 public interest.” Doe v. Kamehameha Schools/Bernice Pauahi Bishop Estate (9th Cir.
17 2010) 596 F.3d 1036, 1042 (quoting Advance Textile, supra, 214 F.3d at 1068). Notably,
18 courts have been especially attuned to the importance of protecting survivors of sexual
19 assault from further harm, both in terms of further violations of their privacy and due to the
20 threat of retaliation. See, e.g., Doe v. Ayers, 789 F.3d 944, 946 (9th Cir. 2015) (use of
21 pseudonym appropriate because petitioner, who had been repeatedly sexually assaulted in
22 prison, faced serious risk of additional violence if his name was revealed); see also Jordan
23 v. Gardner, 986 F.2d 1521, 1525 n.4 (9th Cir. 1990) (“In keeping with the tradition of not
24 revealing names of the victims of sexual assault, we use initials here to protect the privacy
25 of the inmates.”).
26                 Here, Plaintiffs face a real risk of severe harm if their names are revealed.
27 Retaliation against those who report and challenge sexual abuse and assault is
28 commonplace at FCI Dublin. Jackson-Gleich Decl. ¶ 6. Physical violence, verbal assault,

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 1 placement in solitary confinement, punitive cell searches, destroyed property, and transfer
 2 to other facilities are all forms of retaliation that are inflicted upon people at FCI Dublin.
 3 Id. Many Plaintiffs already experienced some or all of these forms of retaliation when they
 4 first reported abuse and harassment through administrative procedures. Id. Thus, what can
 5 happen to people who report abuse at FCI Dublin is more than a remote possibility or
 6 veiled threat, it is a reality most of them have already come to know. Accordingly,
 7 Plaintiffs fear of such retaliatory responses is reasonable: Plaintiffs have already seen and
 8 experienced such punishments firsthand.
 9                 By virtue of their incarcerated status, Plaintiffs are also particularly vulnerable to
10 retaliation. They have no freedom of movement, no access to non-prison law enforcement,
11 and no ability to avoid those who might seek to retaliate against them. They are entirely
12 dependent on the staff of FCI Dublin for their basic needs, and their lives are completely
13 controlled by the very entities named in this lawsuit. There is no question that Plaintiffs
14 are vulnerable to the forms of retaliation noted above.
15                 Finally, these factors—when considered against the potential prejudice to the
16 opposing party and the public interest—weigh heavily in favor of proceeding
17 anonymously. First, potential prejudice to Defendants is minimal and, Plaintiffs
18 acknowledge that “at some later point in the proceedings it may be necessary to reveal
19 plaintiffs’ identities to defendants so that defendants may refute individualized
20 accusations.” Advance Textile, supra, 214 F.3d at 1072. Second, the public interest also
21 favors permitting Plaintiffs to proceed anonymously. While the public may have some
22 interest in knowing Plaintiffs’ identities, the public also has an interest in encouraging
23 survivors of sexual assault and harassment (especially when harassment is perpetrated by
24 government actors) to come forward. See, e.g., Doe v. Penzato, CV10-5154 MEJ, 2011
25 WL 1833007, at *5 (N.D. Cal. May 13, 2011) (finding “that the public’s interest in
26 allowing alleged victims of sexual assault to proceed anonymously outweighs the public’s
27 interest in disclosing Plaintiff’s identity”); Heineke v. Santa Clara U., 17-CV-05285-LHK,
28 2017 WL 6026248, at *23 (N.D. Cal. Dec. 5, 2017) (concluding “that the public interest is

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 1 served in allowing an alleged victim of sexual harassment to be sued under pseudonym to
 2 avoid deterring other victims from coming forward”).
 3                                               CONCLUSION
 4                 For the foregoing reasons, Plaintiffs respectfully request to proceed anonymously,
 5 using their initials only, rather than their full names.
 6 DATED: August 16, 2023                         Respectfully submitted,
 7                                                ROSEN BIEN GALVAN & GRUNFELD LLP
 8
 9                                                By: /s Ginger Jackson-Gleich
10                                                    Ginger Jackson-Gleich

11                                                Attorneys for Plaintiffs
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